      Case 2:19-cr-00714-PA Document 39 Filed 03/28/20 Page 1 of 3 Page ID #:152



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10   UNITED STATES OF AMERICA
11                           UNITED STATES DISTRICT COURT
12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
13   UNITED STATES OF AMERICA,                No. CR 19-714(A)-PA

14             Plaintiff,                     ORDER CONTINUING TRIAL DATE AND
                                              FINDINGS REGARDING EXCLUDABLE TIME
15                   v.                       PERIODS PURSUANT TO SPEEDY TRIAL
                                              ACT
16   RAYMOND GHALOUSTIAN,
                                              TRIAL DATE: 5/26/2020
17             Defendant.                     FSC DATE:   5/18/2020

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21        The Court has read and considered the Stipulation Regarding
22   Request for (1) Continuance of Trial Date and (2) Findings of
23   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
24   parties in this matter on March 26, 2020.         The Court hereby finds
25   that the Stipulation, which this Court incorporates by reference into
26   this Order, demonstrates facts that support a continuance of the
27   trial date in this matter, and provides good cause for a finding of
28   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
      Case 2:19-cr-00714-PA Document 39 Filed 03/28/20 Page 2 of 3 Page ID #:153



1         The Court further finds that: (i) the ends of justice served by

2    the continuance outweigh the best interest of the public and

3    defendant in a speedy trial; (ii) failure to grant the continuance

4    would be likely to make a continuation of the proceeding impossible,

5    or result in a miscarriage of justice; and (iii) failure to grant the

6    continuance would unreasonably deny defendant continuity of counsel

7    and would deny defense counsel the reasonable time necessary for

8    effective preparation, taking into account the exercise of due

9    diligence.
10        THEREFORE, FOR GOOD CAUSE SHOWN:
11        1.     The trial in this matter is continued from April 7, 2020 to
12   May 26, 2020, at 8:30 a.m.      The final status conference hearing is
13   continued to May 18, 2020, at 3:00 p.m.         The briefing schedule for
14   motions, including motion in limine, notices required by Rule 12,
15   12.1, and 123.2 shall be as follows: motions are to be filed by April
16   13, 2020; oppositions due by April 20, 2020; and replies due by April
17   27, 2020.    The motions hearing is set for May 4, 2020 at 3:00 p.m.
18        2.     The time period of April 7, 2020 to May 26, 2020,

19   inclusive, is excluded in computing the time within which the trial

20   must commence, pursuant to 18 U.S.C. §§ 3161(h)(3), (h)(7)(A),

21   (h)(7)(B)(i), and (B)(iv).

22        3.     The time period from March 9, 2020 to March 23, 2020 is

23   excludable pursuant to 18 U.S.C. §3161(h)(1)(G) as a delay resulting

24   from consideration by the court of a proposed plea agreement to be

25   entered into between the defendant and the attorney for the

26   government.

27        4.     Nothing in this Order shall preclude a finding that other

28   provisions of the Speedy Trial Act dictate that additional tine

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      Case 2:19-cr-00714-PA Document 39 Filed 03/28/20 Page 3 of 3 Page ID #:154



1    provisions periods are excluded from the period within which trial

2    must commence.    Moreover, the same provisions and/or other provisions

3    of the Speedy Trial Act may in the future authorize the exclusion of

4    additional time periods from the period within which trial must

5    commence.

6         IT IS SO ORDERED.

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8     March 28, 2020
      DATE                                     PERCY ANDERSON
9                                              UNITED STATES DISTRICT JUDGE
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12   Presented by:
13       /s/
     ASHLEY FILLMORE
14   SUSAN S. HAR
     Assistant United States Attorneys
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